        Case 1:13-cr-00136-DAD-BAM Document 426 Filed 11/29/16 Page 1 of 6


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6      United States of America
7

8                       IN THE UNITED STATES DISTRICT COURT

9                     FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,          ) 1:13-CR-00136-AWI-BAM
                                        )
12                     Plaintiff,       ) FINAL ORDER OF FORFEITURE
                                        )
13        v.                            )
                                        )
14   SARITH CHIM,                       )
     SDEY CHIM,                         )
15   DAVID RUEM,                        )
     CHANRATH YIM YATH,                 )
16   CHANROU YATH,                      )
     PHALLY THACH,                      )
17   RAEB CHOU,                         )
     CHANTHA CHIM,                      )
18   PHARY DAVID CHIM,                  )
     CINDY DOEUM,                       )
19   LOC HUU CHAU, and                  )
     SAY ENG,                           )
20                                      )
                       Defendants.      )
21                                      )
22       WHEREAS, on or about December 16, 2013, January 28, 2014,

23   February 13, 2014, February 27, 2014, March 12, 2014, March 27, 2014,

24   May 21, 2014, August 21, 2014, December 9, 2014, February 23, 2015,

25   August 4, 2015, and September 28, 2015 the Court entered Preliminary

26   Orders of Forfeiture and Orders for Forfeiture Money Judgment,

27   forfeiting to the United States all right, title, and interest of

28   defendants Sarith Chim, Sdey Chim, David Ruem, Chanrath Yim Yath,

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                                                     Final Order of Forfeiture
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        Case 1:13-cr-00136-DAD-BAM Document 426 Filed 11/29/16 Page 2 of 6


1    Chanrou Yath, Phally Thach, Raeb Chou, Chantha Chim, Phary David

2    Chim, Cindy Doeum, and Loc Huu Chau in the following property:

3             a. $147,900 in U.S. Currency seized from safe deposit box

4                located at Bank of America branch in Modesto, California,

5                held in the name of Say Eng and Sdey Chim;

6             b. $7,500 in U.S. Currency seized from an U.S. Express Mail

7                envelope en route from Lowell, Massachusetts to Modesto,

8                California;

9             c. Yugo 59/60 model semi-automatic firearm with serial

10               number K423900, and ammunition located inside magazine;

11            d. Norinco SKS model semi-automatic firearm with serial

12               number 013018-DB013018;

13            e. Savage Arms Mark 2 model semi-automatic firearm with

14               serial number 0461075;

15            f. Ruger 10-22 model semi-automatic firearm with serial

16               number 24292833;

17            g. Winchester 68-22 model firearm with unknown serial

18               number;

19            h. Norinco 90 model 12-gauge shotgun with serial number

20               0028157;

21            i. Sterling Arms CASSI model grease gun style firearm with

22               serial number 586960215SC2626;

23            j. Phoenix Arms HP22 model firearm with serial number

24               4173214;

25            k. Smith & Wesson Air-weight 38 special model firearm with

26               serial number 27050, and ammunition located inside

27               magazine;

28            l. Smith & Wesson Air-weight 38 special model firearm with

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                                                     Final Order of Forfeiture
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     Case 1:13-cr-00136-DAD-BAM Document 426 Filed 11/29/16 Page 3 of 6


1             serial number 27050, and ammunition located inside

2             magazine;

3          m. Taurus PT 247 pRO model firearm with serial number

4             NZA81494, and ammunition located inside magazine;

5          n. Gabilondo Llama 9mm firearm with serial number 212778;

6          o. Phoenix Arms HP22 model firearm with serial number

7             4097953, and ammunition located inside magazine;

8          p. Colt Automatic 22 model firearm with serial number 38829;

9          q. Ruger Mark 3 model firearm with serial number 22712865;

10         r. Springfield Armory xd 9 model firearm with serial number

11            US862231, and ammunition located inside magazine;

12         s. Para Ordinance C7-45LDA model firearm with serial number

13            CC1428, and ammunition located inside magazine.

14         t. Norinco 54-1 model firearm with serial number 5011651;

15         u. Smith & Wesson 38+P model firearm with serial number

16            5001502, and ammunition located inside magazine;

17         v. Glock 22 model firearm with serial number GVN475, and

18            ammunition located inside magazine;

19         w. FNMI 49 model firearm with serial number 517MM10580;

20         x. Mach 10 Cobray model upper part with unknown serial

21            number;

22         y. Glock 21 pistol with obliterated serial number;

23         z. Remington 870 shotgun with serial number D693276M;

24         aa.   Apple Desktop SN QP0370SVDNP;

25         bb.   Apple Desktop SN W89133646X1;

26         cc.   Dell Tower 300 SN4HWHZ61;

27         dd.   HP Laptop SN CND8511SGO;

28         ee.   Canon Printer SN GFX80G1;

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                                                  Final Order of Forfeiture
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        Case 1:13-cr-00136-DAD-BAM Document 426 Filed 11/29/16 Page 4 of 6


1             ff.   A personal money judgment against CHANTHA CHIM in the

2                   amount of $81,608.00;

3             gg.   A personal money judgment against RAEB CHOU in the

4                   amount of $155,600.00;

5             hh.   A personal money judgment against PHALLY THACH in the

6                   amount of $140,489.00;

7             ii.   A personal money judgment against CHANRATH YIM YATH in

8                   the amount of $493,305.00;

9             jj.   A personal money judgment against DAVID RUEM in the

10                  amount of $145,250.00;

11            kk.   A personal money judgment against LOC HUU CHAU in the

12                  amount of $51,400.00;

13            ll.   A personal money judgment against CHANROU YATH in the

14                  amount of $712,792.49, and

15            mm.   A personal money judgment against SARITH CHIM in the

16                  amount of $166,770.00.

17       AND WHEREAS, beginning on January 25, 2014, February 9, 2014,

18   February 28, 2014, March 12, 2014, March 21, 2014, April 12, 2014,

19   August 27, 2014, April 15, 2015, August 22, 2015, for at least 30

20   consecutive days, the United States published notice of the Court’s

21   Order of Forfeiture on the official internet government forfeiture

22   site www.forfeiture.gov.    Said published notice advised all third

23   parties of their right to petition the Court within sixty (6) days

24   from the first day of publication of the notice for a hearing to

25   adjudicate the validity of their alleged legal interest in the

26   forfeiture property;

27       AND WHEREAS, on October 21, 2016, the United States sent direct

28   written notice by certified mail to the following individuals known

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           Case 1:13-cr-00136-DAD-BAM Document 426 Filed 11/29/16 Page 5 of 6


1    to have an alleged interest in the above-described property:

2                a. Say Eng;

3                b. Chande Chim;

4                c. Anthony P. Capozzi, attorney for Say Eng in the instant

5                   criminal matter;

6                d. Nick Migliaccio, attorney for Say Eng and Chande Chim in

7                   the administrative forfeiture action; and,

8                e. Boroth Chay, attorney for Say Eng and Chande Chim in the

9                   administrative forfeiture action.

10          AND WHEREAS, the Court has been advised that no third party has

11   filed a claim to the subject property and the time for any person or

12   entity to file a claim has expired;

13          Accordingly, it is hereby ORDERED and ADJUDGED:

14          1.   A Final Order of Forfeiture shall be entered forfeiting to

15   the United States of America all right, title, and interest in the

16   above-listed property pursuant to 18 U.S.C. § 981(a)(1)(C), 21 U.S.C.

17   § 853, 28 U.S.C. § 2461(c), 31 U.S.C. §§ 5317, 5317(c)(1), and

18   5317(c)(2), to be disposed of according to law, including all right,

19   title, and interest of Sarith Chim, Sdey Chim, David Ruem, Chanrath

20   Yim Yath, Chanrou Yath, Phally Thach, Raeb Chou, Chantha Chim, Phary

21   David Chim, Cindy Doeum, Loc Huu Chau, Say Eng, and Chande Chim.

22          2.   All right, title, and interest in the above-listed property

23   shall vest solely in the name of the United States of America.

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         Case 1:13-cr-00136-DAD-BAM Document 426 Filed 11/29/16 Page 6 of 6


1          3.    The Internal Revenue Service – Criminal Investigations,

2    U.S. Marshals Service shall maintain custody of and control over the

3    subject property until it is disposed of according to law.

4
     IT IS SO ORDERED.
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6    Dated: November 29, 2016
                                      SENIOR DISTRICT JUDGE
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                                                      Final Order of Forfeiture
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